               Case 11-19252-AJC             Doc 39    Filed 07/24/13       Page 1 of 11


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

       In re: QUINTERO, DAVID J.                                      §    Case No. 11-19252-BKC-AJC
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Barry E. Mukamal, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $224,324.00                          Assets Exempt: $222,219.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$2,981.00             Claims Discharged
                                                       Without Payment: $69,393.63

 Total Expenses of Administration:$1,519.03


         3) Total gross receipts of $     4,500.03       (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $4,500.03
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
                Case 11-19252-AJC             Doc 39       Filed 07/24/13         Page 2 of 11



                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $193,217.65             $0.00              $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           1,519.03          1,519.03           1,519.03

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     65,662.73          32,200.05          32,200.05          2,981.00

                                          $258,880.38         $33,719.08        $33,719.08          $4,500.03
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on April 05, 2011.
  The case was pending for 27 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 07/03/2013                 By: /s/Barry E. Mukamal
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
                               Case 11-19252-AJC                 Doc 39        Filed 07/24/13           Page 3 of 11




                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     CHASE A/N 4234                                                                      1129-000                                    1,665.00

     2008 MAZDA 3                                                                        1129-000                                    2,835.00

     Interest Income                                                                     1270-000                                        0.03


    TOTAL GROSS RECEIPTS                                                                                                            $4,500.03

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED            PAID
                                                       CODE                6D)
 NOTFILED         Chase Home Finance                   4110-000             193,217.65            N/A                    N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $193,217.65                  $0.00             $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS           CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED            PAID
                                                       CODE
 Barry E. Mukamal, Trustee                             2100-000            N/A                      1,125.01            1,125.01           1,125.01

 Barry E. Mukamal                                      2200-000            N/A                          94.02             94.02                 94.02

 The Bank of New York Mellon                           2600-000            N/A                          25.00             25.00                 25.00




UST Form 101-7-TDR (10/1/2010)
                     Case 11-19252-AJC         Doc 39       Filed 07/24/13          Page 4 of 11

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 The Bank of New York Mellon            2600-000          N/A                       25.00          25.00       25.00

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A                  $1,519.03      $1,519.03     $1,519.03
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS              CLAIMS             CLAIMS        CLAIMS
                                         TRAN.
                                                     SCHEDULED           ASSERTED           ALLOWED         PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                       $0.00          $0.00       $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.        (from Form        (from Proofs of     ALLOWED         PAID
                                         CODE             6E)                Claim)
                                                   None

 TOTAL PRIORITY UNSECURED                                       $0.00               $0.00          $0.00       $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM       CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT               TRAN.        (from Form        (from Proofs of     ALLOWED         PAID
                                         CODE             6F)                Claim)
      1    Discover Bank                7100-000            4,231.00             4,231.69      4,231.69       391.77

      2    Midland Credit Manangement   7100-000            2,776.00             2,775.76      2,775.76       256.97
           Inc.
      3    FIA CARD SERVICES N.A.       7100-000            6,271.00             5,959.63      5,959.63       551.73



UST Form 101-7-TDR (10/1/2010)
                         Case 11-19252-AJC      Doc 39   Filed 07/24/13      Page 5 of 11

      4     FIA CARD SERVICES N.A.       7100-000        3,909.00         3,335.40      3,335.40     308.78

      5     Asset Acceptance LLC         7100-000        7,322.15         8,038.67      8,038.67     744.20

      6     Capital One Bank N.A.        7100-000    N/A                  7,023.68      7,023.68     650.23

      7     Portfolio Recovery           7100-000          979.00          835.22           835.22    77.32
            Associates LLC
 NOTFILED   Hsbc/Saks                    7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Gemb/Brd Mrt                 7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Hsbc/Yamaha                  7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Ford Cred                    7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Citi Ctb                     7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Citi                         7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   FIA Card Services            7100-000        5,798.63    N/A                    N/A        0.00

 NOTFILED   Discover Fin                 7100-000        9,717.00    N/A                    N/A        0.00

 NOTFILED   Hsbc/Yamaha                  7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   FIA Card Services/Bank of   7100-000         4,899.46    N/A                    N/A        0.00
            America
 NOTFILED   Ocean Bank Legal Department 7100-000             1.00    N/A                    N/A        0.00

 NOTFILED   Wfcb/Hsn                     7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Wfnnb/Sporta                 7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Wfds/Wds                     7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Target Nb                    7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Rodolfo J. Miro, Esq.        7100-000          587.00    N/A                    N/A        0.00

 NOTFILED   Sears/Cbsd                   7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   North Land Group             7100-000        4,231.69    N/A                    N/A        0.00

 NOTFILED   RJM Acquisition, LLC.        7100-000          957.31    N/A                    N/A        0.00

 NOTFILED   Citi                         7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Louis K. Nicholas II, Esq.   7100-000          350.00    N/A                    N/A        0.00

 NOTFILED   Chase Auto                   7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Applied Bank                 7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Associated Recovery Systems 7100-000         4,783.49    N/A                    N/A        0.00

 NOTFILED   Asset Acceptance Llc         7100-000        7,898.00    N/A                    N/A        0.00
            (Original Cred
 NOTFILED   Bank Of America              7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Bk Of Amer                   7100-000          951.00    N/A                    N/A        0.00

 NOTFILED   Chase Auto                   7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Chase Manhattan Mtge         7100-000            0.00    N/A                    N/A        0.00

 NOTFILED   Chase Auto                   7100-000            0.00    N/A                    N/A        0.00




UST Form 101-7-TDR (10/1/2010)
                         Case 11-19252-AJC   Doc 39     Filed 07/24/13    Page 6 of 11

 NOTFILED   Chase                     7100-000              0.00    N/A                  N/A         0.00

 NOTFILED   Chase Auto                7100-000              0.00    N/A                  N/A         0.00

 NOTFILED   Bmw Financial Services    7100-000              0.00    N/A                  N/A         0.00

 NOTFILED   Chase                     7100-000              0.00    N/A                  N/A         0.00

 NOTFILED   Cap One                   7100-000              0.00    N/A                  N/A         0.00

 NOTFILED   Chrysler Financial        7100-000              0.00    N/A                  N/A         0.00

 TOTAL GENERAL UNSECURED                              $65,662.73    $32,200.05     $32,200.05   $2,981.00
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
                                       Case 11-19252-AJC                        Doc 39          Filed 07/24/13                Page 7 of 11

                                                                                                                                                                              Exhibit 8


                                                                                    Form 1                                                                                    Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 11-19252-BKC-AJC                                                               Trustee:         (290830)      Barry E. Mukamal
Case Name:         QUINTERO, DAVID J.                                                       Filed (f) or Converted (c): 04/05/11 (f)
                                                                                            §341(a) Meeting Date:          05/09/11
Period Ending: 07/02/13                                                                     Claims Bar Date:               09/13/11

                                   1                                        2                           3                         4                   5                   6

                      Asset Description                                Petition/              Estimated Net Value            Property            Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,      Abandoned            Received by      Administered (FA)/
                                                                        Values              Less Liens, Exemptions,         OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                  Remaining Assets

 1         15985 SW 140 STREET, MIAMI, FL 33196-6467                     220,219.00                             0.00                                       0.00                     FA

 2         CASH ON HAND                                                          20.00                          0.00                                       0.00                     FA

 3         CHASE A/N 4234                                                       240.61                      1,710.61                                   1,665.00                     FA
            Joint with non-filing party.

 4         HOUSEHOLD GOODS AND FURNISHINGS                                      850.00                          0.00                                       0.00                     FA

 5         WEARING APPAREL                                                       50.00                        50.00                                        0.00                     FA

 6         JEWELRY                                                               10.00                        10.00                                        0.00                     FA

 7         2008 MAZDA 3                                                     7,410.00                        6,750.00                                   2,835.00                     FA
            Joint with non-filing spouse. Geico Insurance; policy
           #4201-58-13-39; expires 07/24/13

 8         1995 NISSAN QUEST                                                3,175.00                        3,175.00           OA                          0.00                     FA
            Report of abandonment on file with the court ECF
           17.

 Int       INTEREST (u)                                                     Unknown                             N/A                                        0.03                     FA

 9        Assets      Totals (Excluding unknown values)                 $231,974.61                    $11,695.61                                     $4,500.03                   $0.00



       Major Activities Affecting Case Closing:

                   12 monthly installment payments of $375.00, beginning 06/20/11, concluding 05/20/12, for a total settlement of $4,500.00, court ordered 07/13/11.


                   Claims review complete. No tax return required.

       Initial Projected Date Of Final Report (TFR):      August 31, 2012                     Current Projected Date Of Final Report (TFR):         September 28, 2012 (Actual)




                 July 2, 2013                                                                        /s/ Barry E. Mukamal
            __________________________                                                               _________________________________________________________________
                            Date                                                                     Barry E. Mukamal




                                                                                                                                               Printed: 07/02/2013 03:17 PM    V.13.13
                                     Case 11-19252-AJC               Doc 39          Filed 07/24/13                   Page 8 of 11

                                                                                                                                                                          Exhibit 9


                                                                               Form 2                                                                                      Page: 1

                                                 Cash Receipts And Disbursements Record
Case Number:         11-19252-BKC-AJC                                                         Trustee:            Barry E. Mukamal (290830)
Case Name:           QUINTERO, DAVID J.                                                       Bank Name:          The Bank of New York Mellon
                                                                                              Account:            9200-******18-65 - Checking Account
Taxpayer ID #: **-***8499                                                                     Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 07/02/13                                                                       Separate Bond: N/A

   1            2                           3                                  4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From           Description of Transaction                 T-Code              $                   $       Account Balance
06/16/11                 David Quintero                Payment #1; court ordered 07/13/11                                         375.00                                   375.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                          375.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                          375.00
07/20/11                 David Quintero                Payment #2; court ordered 07/13/11                                         375.00                                   750.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                          750.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                          750.00
08/18/11                 David Quintero                Payment #3; court ordered 07/13/11                                         375.00                                  1,125.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         1,125.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         1,125.00
09/27/11                 David Quintero                Payment #4; court ordered 07/13/11                                         375.00                                  1,500.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         1,500.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         1,500.00
09/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            1,475.00
10/25/11                 David Quintero                Payment #5; court ordered 07/13/11                                         375.00                                  1,850.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         1,850.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         1,850.00
10/31/11                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            1,825.00
11/22/11                 David Quintero                Payment #6, court ordered 07/13/11                                         375.00                                  2,200.00
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         2,200.00
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         2,200.00
11/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                       1270-000                   0.01                                  2,200.01
11/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            2,175.01
12/28/11                 David Quintero                Payment #7; court ordered 07/13/11                                         375.00                                  2,550.01
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         2,550.01
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         2,550.01
12/30/11       Int       The Bank of New York Mellon   Interest posting at 0.0100%                       1270-000                   0.01                                  2,550.02
12/30/11                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            2,525.02
01/26/12                 David J Quintero              Payment #8; court ordered 07/13/11                                         375.00                                  2,900.02
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         2,900.02
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         2,900.02
01/31/12       Int       The Bank of New York Mellon   Interest posting at 0.0100%                       1270-000                   0.01                                  2,900.03
01/31/12                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            2,875.03
02/29/12                 The Bank of New York Mellon   Bank and Technology Services Fee                  2600-000                                        25.00            2,850.03
03/06/12                 David J Quintero              Payment #9; court ordered 07/13/11                                         375.00                                  3,225.03
               {3}                                       Allocation Asset #3                 139.00      1129-000                                                         3,225.03
               {7}                                       Allocation Asset #7                 236.00      1129-000                                                         3,225.03
03/27/12       {3}       David J Quintero              Payment #10; court ordered 07/13/11               1129-000                 375.00                                  3,600.03
                                                                                               Subtotals :                   $3,750.03                 $150.00
{} Asset reference(s)                                                                                                                  Printed: 07/02/2013 03:17 PM        V.13.13
                                     Case 11-19252-AJC                      Doc 39          Filed 07/24/13                  Page 9 of 11

                                                                                                                                                                                 Exhibit 9


                                                                                      Form 2                                                                                      Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         11-19252-BKC-AJC                                                               Trustee:            Barry E. Mukamal (290830)
Case Name:           QUINTERO, DAVID J.                                                             Bank Name:          The Bank of New York Mellon
                                                                                                    Account:            9200-******18-65 - Checking Account
Taxpayer ID #: **-***8499                                                                           Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 07/02/13                                                                             Separate Bond: N/A

   1            2                            3                                        4                                             5                    6                   7

 Trans.     {Ref #} /                                                                                                           Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                    $       Account Balance
03/27/12                 David J Quintero                    Payment #10; court ordered 07/13/11                                         375.00                                  3,975.03
               {3}                                              Allocation Asset #3                 39.00      1129-000                                                          3,975.03
               {7}                                              Allocation Asset #7                336.00      1129-000                                                          3,975.03
03/27/12       {7}       David J. Quintero                   Payment #10; court ordered 07/13/11               1129-000                  375.00                                  4,350.03
03/30/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,325.03
04/30/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,300.03
05/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,275.03
06/29/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,250.03
07/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,225.03
08/31/12                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                       25.00              4,200.03
12/03/12      1001       Discover Bank                       Dividend paid 9.25% on $4,231.69; Claim# 1;       7100-000                                      391.77              3,808.26
                                                             Filed: $4,231.69; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1002       Midland Credit Manangement Inc.     Dividend paid 9.25% on $2,775.76; Claim# 2;       7100-000                                      256.97              3,551.29
                                                             Filed: $2,775.76; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1003       FIA CARD SERVICES N.A.              Dividend paid 9.25% on $5,959.63; Claim# 3;       7100-000                                      551.73              2,999.56
                                                             Filed: $5,959.63; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1004       FIA CARD SERVICES N.A.              Dividend paid 9.25% on $3,335.40; Claim# 4;       7100-000                                      308.78              2,690.78
                                                             Filed: $3,335.40; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1005       Asset Acceptance LLC                Dividend paid 9.25% on $8,038.67; Claim# 5;       7100-000                                      744.20              1,946.58
                                                             Filed: $8,038.67; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1006       Capital One Bank N.A.               Dividend paid 9.25% on $7,023.68; Claim# 6;       7100-000                                      650.23              1,296.35
                                                             Filed: $7,023.68; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1007       Portfolio Recovery Associates LLC   Dividend paid 9.25% on $835.22; Claim# 7;         7100-000                                       77.32              1,219.03
                                                             Filed: $835.22; Reference: Claim Reference},
                                                             court ordered fees 11/30/12.
12/03/12      1008       Barry E. Mukamal                    COMBINED CHECK FOR TRUSTEE                                                                   1,219.03                   0.00
                                                             COMPENSATION, EXPENSES AND
                                                             INTEREST
                                                                Dividend paid 100.00%           1,125.01       2100-000                                                              0.00
                                                                on $1,125.01; Claim# ;
                                                                Filed: $1,125.01
                                                                Dividend paid 100.00%               94.02      2200-000                                                              0.00
                                                                on $94.02; Claim# ;
                                                                                                     Subtotals :                        $750.00          $4,350.03
{} Asset reference(s)                                                                                                                         Printed: 07/02/2013 03:17 PM        V.13.13
                                  Case 11-19252-AJC             Doc 39           Filed 07/24/13               Page 10 of 11

                                                                                                                                                                   Exhibit 9


                                                                      Form 2                                                                                       Page: 3

                                               Cash Receipts And Disbursements Record
Case Number:        11-19252-BKC-AJC                                                   Trustee:            Barry E. Mukamal (290830)
Case Name:          QUINTERO, DAVID J.                                                 Bank Name:          The Bank of New York Mellon
                                                                                       Account:            9200-******18-65 - Checking Account
Taxpayer ID #: **-***8499                                                              Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 07/02/13                                                                Separate Bond: N/A

   1            2                        3                              4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                              Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From        Description of Transaction              T-Code              $                  $       Account Balance
                                                     Filed: $94.02

                                                                      ACCOUNT TOTALS                                    4,500.03             4,500.03                $0.00
                                                                             Less: Bank Transfers                           0.00                 0.00
                                                                      Subtotal                                          4,500.03             4,500.03
                                                                             Less: Payments to Debtors                                           0.00
                                                                      NET Receipts / Disbursements                    $4,500.03             $4,500.03




{} Asset reference(s)                                                                                                           Printed: 07/02/2013 03:17 PM        V.13.13
                                    Case 11-19252-AJC                Doc 39            Filed 07/24/13               Page 11 of 11

                                                                                                                                                                         Exhibit 9


                                                                            Form 2                                                                                       Page: 4

                                                 Cash Receipts And Disbursements Record
Case Number:        11-19252-BKC-AJC                                                         Trustee:            Barry E. Mukamal (290830)
Case Name:          QUINTERO, DAVID J.                                                       Bank Name:          Rabobank, N.A.
                                                                                             Account:            ****460266 - Checking Account
Taxpayer ID #: **-***8499                                                                    Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 07/02/13                                                                      Separate Bond: N/A

   1            2                         3                                   4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction              T-Code              $                   $       Account Balance

   (No Transactions on File for this Period)                                ACCOUNT TOTALS                                         0.00                0.00                $0.00
                                                                                   Less: Bank Transfers                            0.00                0.00
                                                                            Subtotal                                               0.00                0.00
                                                                                   Less: Payments to Debtors                                           0.00
                                                                            NET Receipts / Disbursements                          $0.00               $0.00

                              Net Receipts :         4,500.03
                                                ————————                                                                       Net              Net                  Account
                                 Net Estate :       $4,500.03               TOTAL - ALL ACCOUNTS                             Receipts      Disbursements             Balances

                                                                            Checking # 9200-******18-65                       4,500.03             4,500.03                 0.00
                                                                            Checking # ****460266                                  0.00                0.00                 0.00

                                                                                                                            $4,500.03             $4,500.03                $0.00




{} Asset reference(s)                                                                                                                 Printed: 07/02/2013 03:17 PM        V.13.13
